                           FREEMAN, NOOTER & GINSBERG
                                       ATTORNEYS AT LAW
LOUIS M. FREEMAN                                                             75 MAIDEN LANE
THOMAS H. NOOTER                                                                SUITE 907
LEE A. GINSBERG                                                             NEW YORK, N.Y. 10038
   _________                                                                      _________

NADJIA LIMANI                                                                (212) 608-0808
OF COUNSEL                                                                TELECOPIER (212) 962-9696
    _________                                                             E-MAIL: FNGLAW@AOL.COM
CHARLENE RAMOS                                                               WWW.FNGLAW.COM
OFFICE MANAGER




                                         April 2, 2025


BY ECF
To Be Filed Under Seal
Hon. Joan M. Azrack
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

                   Re: United States v. Vladimir Antonio Arevalo-Chavez
                                      22 CR 429 (JMA)

Dear Judge Azrack:

         We have received the government’s April 1, 2025, letter – motion requesting dismissal of
Indictment 22-429 (JMA) without prejudice pursuant to Federal Rule of Criminal Procedure
48(a). We request until April 9, 2025 to respond. Before responding I need to meet with my
client to discuss the government’s motion and to explore his options, if any. As he is housed in
MDC SHU and only speaks Spanish, I need to meet with him with an interpreter. Visiting a
client at the MDC is difficult: there are constant lockdowns preventing or delaying visitation;
transport to and from SHU is always delayed because one needs an escort; and using an
interpreter adds significant time to the conference.

        Accordingly, we request until April 9. 2025 to respond to the government’s April 1,
2025, letter. We ask that the Court not decide the government’s motion until Mr. Arevalo-
Chavez files his response.

                                                           Respectfully submitted,

                                                           /S/ Louis M. Freeman
                                                           Louis M. Freeman
